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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
          ELIZABETH MARIE BONILLA
                      (Defendant’s Name)                                  Criminal Number: 1:05-CR-00351-002


                                                                          Eric Fogderude
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charges 1 & 2 as alleged in the violation petition filed on 12/6/2010, and supervised
    release is term inated effective m arch 4, 2013.
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge 1                             USE OF CONTROLLED SUBSTANCE                             11/28/2011
Charge 2                             FAILURE TO PARTICIPATE IN DRUG                          11/30/2011
                                     TESTING AS DIRECTED



The court: [ ] revokes: [ ] modifies: [U] continues under same conditions of supervision heretofore ordered on 12/6/2010 .

       The defendant is sentenced as provided in pages 2 through 1 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                                3/4/2013
                                                                                    Date of Im position of Sentence


                                                                                          /s/ Anthony W . Ishii
                                                                                      Signature of Judicial Officer


                                                                          ANTHONY W . ISHII, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 3/6/2013
                                                                                                   Date
